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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
SECURITIES AND EXCHANGE                    )
COMMISSION,                                )
                                          )
                        Plaintiff,        )
                                          )
                  v.                      )  No. 1:23-cv-01599-ABJ-ZMF
                                          )
BINANCE HOLDINGS LIMITED,                 )
BAM TRADING SERVICES INC.,                )
BAM MANAGEMENT US HOLDINGS                )
INC., AND CHANGPENG ZHAO,                 )
                                          )
                        Defendants.       )
__________________________________________)


                   PLAINTIFF SECURITIES AND EXCHANGE
             COMMISSION’S NOTICE OF SUPPLEMENTAL AUTHORITY

       Plaintiff Securities and Exchange Commission (“SEC”) respectfully submits this Notice

of Supplemental Authority to inform the Court of a recent ruling in Williams v. Binance, No. 22-

972, Dkt. No. 97-1 (2d Cir. Mar. 8, 2024) (“Williams”) that is relevant to this Court’s

consideration of arguments by Defendants Binance Holding Limited (“Binance”) and Changpeng

Zhao that the Court should dismiss certain of the SEC’s claims here because they are

impermissibly extraterritorial. See Dkt. No. 118, at 36-42; Dkt. No. 172, at 59-69; Dkt. No. 192,

at 19-24. Binance and Zhao cited a district court’s dismissal of a private securities class action

against them, Anderson v. Binance, 2022 WL 976824 (S.D.N.Y. Mar. 31, 2022), in support of

their dismissal arguments here. See Dkt. No. 118, at 37. However, on appeal, the Second Circuit

reversed the district court’s dismissal order. Williams, at 12 (holding, in relevant part, that

plaintiffs “adequately alleged that their claims involved domestic transactions because they
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became irrevocable within the United States and are therefore subject to our securities laws.”).

The Williams opinion is attached hereto as Exhibit A. 1



Dated: March 8, 2024                                 Respectfully submitted,



                                                     s/ Matthew Scarlato
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  Before the SEC filed this Notice, Defendants asked the SEC to withdraw its March 4, 2024
Notice of Supplemental Authority (Dkt. No. 221) because they believe it was inconsistent with
this Court’s January 22, 2024 Minute Order (“Order”). See Dkt. No. 226, at 1 n.1. This Court,
however, regularly considers supplemental notices of authority such as these that inform the
Court about relevant cases and events that post-date arguments, and the Court’s Order that it
would not accept “post-hearing briefs” was not to the contrary. See, e.g., Cato Institute v. SEC,
438 F. Supp. 3d 44, 49 & n.6 (D.D.C. 2020); Burt Lake Band of Ottawa & Chippewa Indians v.
Bernhardt, 613 F. Supp. 3d 371, 374 n.2 (D.D.C. 2020); Baylor v. Mitchell Rubenstein &
Assocs., 55 F. Supp. 3d 43, 54 n.6 (D.D.C. 2014).



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